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                 IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION

DONNA CAVE, et al.                                                PLAINTIFFS

ANNE ORSI, et al.,                             CONSOLIDATED PLAINTIFFS

THE SATANIC TEMPLE, et al.,                                    INTERVENORS


V.                       Case No. 4:18-cv-00342-KGB

JOHN THURSTON, Arkansas Secretary of State
in his Official Capacity                                       DEFENDANT

                     BRIEF IN OPPOSITION
           TO MOTION FOR TEMPORARY STAY PENDING
        THE UNITED STATES SUPREME COURT’S DECISION IN
     THE AMERICAN LEGION V. AMERICAN HUMANIST ASSOCIATION



                               INTRODUCTION

       This case was filed to challenge the recent erection of a Ten Commandments

monument on the Arkansas State Capitol grounds. The monument was placed on

the State Capitol grounds after public hearings and public comment. Plaintiffs


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expect to prove that the monument was placed to express the state’s preference for

a particular version of the Christian religion. The evidence will show that the

monument was authorized by Act 1231 of 2015. The Act specifies a certain

version of the Ten Commandments to be placed on the State Capitol grounds. The

Act also provides a purported secular justification for the monument that Plaintiffs

submit the evidence will show is a transparent sham. Hearings were held and

comments were made about the proposed monument, and there was substantial

coverage in the media. These hearings show that both the opponents and many of

the proponents believed that the monument was religious in nature. Indeed,

hundreds of supporters provided a comment that essentially acknowledges the

religious inspiration behind the monument. Exhibit A is an example of the form

letter sent by proponents.

      The monument was approved after a hearing at which the primary proponent

of the monument, Sen. Jason Rapert, instructed the Arts and Grounds Commission

that it had no choice but to approve the monument. Exhibit B. The monument was

provided by a private group, the Arkansas History and Heritage Foundation. The

religious motivation of that organization will also be made clear after discovery.

Plaintiffs expect to prove that the AHHF views both the text and the symbolism on

the monument as religious in nature. Exhibit C.




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      The monument was originally placed on the State Capitol Grounds on or

about June 27, 2017. That monument was destroyed within twenty-four hours. On

April 26, 2018, a second monument was placed. A ceremony at which the

monument was unveiled was actively protested by some, including some Plaintiffs

and Intervenors in this case. Less than a month later, on May 23, 2018, this action

was filed.

      In Am. Humanist Ass'n v. Maryland-Nat'l Capital Park & Planning Comm'n,

874 F.3d 195 (4th Cir. 2017), cert. granted sub nom. The Am. Legion v. Am.

Humanist Ass'n, 139 S. Ct. 451 (2018), and cert. granted, 139 S. Ct. 451 (2018)

(American Legion) plaintiffs challenged the state government maintaining and

displaying a 40-foot Latin cross. The United States District Court for the District

of Maryland granted summary judgment for the defendant. The plaintiffs appealed

to the United States Court of Appeals for the Fourth Circuit. The Fourth Circuit

reversed. On June 25, 2018 and June 29, 2018, the Maryland defendants and

American Legion intervenors filed petitions for writ of certiorari to the Supreme

Court. The Supreme Court granted the petitions on Nov. 2, 2018.

      On Jan. 23, 2019, Secretary of State John Thurston moved for a stay of all

proceedings in this case.




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                                    ARGUMENT


        The Secretary of State has not met his burden of demonstrating a need for a

stay that outweighs the harm to others. First, a stay is not warranted as the

American Legion case and this one are significantly different. Second, the Orsi

Plaintiffs will be harmed by allowing violations of their constitutional rights to

continue as the case remains stalled. In addition, the Orsi Plaintiffs will be unable

to conduct necessary discovery if a stay is granted.

   I.      Defendant bears a heavy burden to establish a need for a stay

        The proponent of a stay bears the burden of establishing its need. Clinton v.

Jones, 520 U.S. 681, 708 (1997), citing Landis v. N. Am. Co., 299 U.S. 248, 255

(1936). The Supreme Court has cautioned against stays that will cause harm to the

nonmoving party:


    [T]he suppliant for a stay must make out a clear case of hardship or
    inequity in being required to go forward, if there is even a fair possibility
    that the stay for which he prays will work damage to some one else. Only
    in rare circumstances will a litigant in one cause be compelled to stand
    aside while a litigant in another settles the rule of law that will define the
    rights of both.

Landis, 299 U.S. at 255. In Clinton, the Court recognized that even though

discovery had proceeded, “delaying trial would increase the danger of prejudice




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resulting from the loss of evidence, including the inability of witnesses to recall

specific facts…” 520 U.S. at 707–08.

         These and other harms to the nonmoving party must be outweighed by the

interests asserted by the party seeking a stay. See Commodity Futures Trading

Comm'n v. Chilcott Portfolio Mgmt., Inc., 713 F.2d 1477, 1484 (10th Cir. 1983).



   II.      Review of the American Legion case by the Supreme Court does not
            establish a need for a stay in this case because the cases are
            substantially different.


         Establishment Clause cases are inherently “fact-sensitive.” Lee v. Weisman,

505 U.S. 577, 597 (1992). Each display is “judged in its unique circumstances.”

Lynch v. Donnelly, 465 U.S. 668, 694 (1984) (O’Connor, J., concurring); accord

McCreary Cty. v. ACLU,, 545 U.S. 844, 867-68 (2005); Van Orden v. Perry, 545

U.S. 677, 700 (2005) (Breyer, J., concurring). Because of the “highly fact-specific

nature of the inquiry,” the Court’s “jurisprudence in this area has refrained from

making sweeping pronouncements and this case is ill suited for announcing

categorical rules.” Salazar v. Buono, 559 U.S. 700, 722 (2010). Accordingly, any

ruling of the Supreme Court on the Bladensburg cross is likely to be moored to the

facts at hand.

         There are indeed, significant differences between the Maryland-Nat'l

Capital Park & Planning Comm'n and American Legion cases and this one. Both

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petitioners in those cases presented questions that focus on the unique nature of the

93-year-old memorial cross. See Exhibit D (“Whether the Establishment Clause

requires the removal or destruction of a 93-year-old memorial to American

servicemen who died in World War I solely because the memorial bears the shape

of a cross.”); Exhibit E (“Whether a 93-year-old memorial to the fallen of World

War I is unconstitutional merely because it is shaped like a cross.”).


      With a distinct focus on both the long-standing nature of the display and the

fact that the display also serves as a war memorial, a determination in the

Maryland and American Legion cases are unlikely to control this case.



III. Every proposed “test” to the Supreme Court retains the requirement
that the state must act with a primarily secular purpose.

    The government defendant in the American Legion case does not argue that the

Supreme Court should abandon the Lemon test. Nor does it assert that Van Orden

displaces Lemon. Thus, both the primary Petitioner (the government) and the

Respondents agree that Lemon should remain the test. The intervenor American

Legion, however, asked the Court to reconsider Lemon posed by the following

question presented:


    2. Whether the constitutionality of a passive display incorporating
    religious symbolism should be assessed under the tests articulated in
    Lemon v. Kurtzman, 403 U.S. 602 (1971), Van Orden v. Perry, 545 U.S.

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    677 (2005), Town of Greece v. Galloway, 134 S. Ct. 1811 (2014), or
    some other test.

Exhibit E.

As discussed below, none of the three cases cited, or any other test likely to be

announced by the Court, authorizes a governmental action with the purpose of

promoting a particular version of a particular religion. Under Lemon, Van Orden,

and Town of Greece, government action violates the Establishment Clause if it

betrays a sectarian purpose, such as a purpose to proselytize.1

      The Court has long recognized that “‘[i]t is not a trivial matter’” to require

“a secular purpose” because that “‘requirement is precisely tailored to

the Establishment Clause’s purpose.’” Edwards v. Aguillard, 482 U.S. 578, 586-87

(1987) (citation omitted); see McCreary, 545 U.S. at 874 (“purpose needs to be

taken seriously under the Establishment Clause”). Manifesting “a purpose to favor

one faith over another, or adherence to religion generally, clashes with the

‘understanding, reached . . . after decades of religious war, that liberty and social

stability demand a religious tolerance that respects the religious views of all

citizens.’ ” Id. at 860 (citation omitted).


      1
        The case of Town of Greece v. Galloway, 572 U.S. 565 (2014) did not
announce any “test” at all. Rather, it simply determined whether Greece’s practice
fit “within the tradition” of Marsh v. Chambers, 463 U.S. 783 (1983); see also id.
at 603 (Alito, J., concurring) (“All that the Court does today is to allow a town to
follow a practice that we have previously held is permissible for Congress and state
legislatures.”).

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      The secular purpose requirement exists independent of Lemon. It is part of

the Court’s “settled” jurisprudence and long predates Lemon. Texas Monthly, Inc.

v. Bullock, 489 U.S. 1, 8-9 (citing, inter alia, Wallace v. Jaffree, 472 U.S. 38

(1985); Epperson v. Arkansas, 393 U.S. 97 (1968); Sch. Dist. of Abington Twp. v.

Schempp, 374 U.S. 203 (1963); Torcaso v. Watkins, 367 U.S. 488 (1961); Everson

v. Board of Education, 330 U.S. 1 (1947)). Years before Lemon, the Court

announced in Schempp: “[W]hat are the purpose and the primary effect of the

enactment? If either is the advancement or inhibition of religion then the enactment

exceeds the scope of legislative power as circumscribed by the Constitution.” 374

U.S. at 222. Lemon simply “encapsulate[s] the essential precepts of the

Establishment Clause,” including the purpose requirement. Allegheny, 492 U.S. at

590-91. See also Wallace, 472 U.S. at 55-56.

      Before and since Lemon, the absence of a primary secular purpose for

challenged government displays and practices has been dispositive in many of the

Court’s cases. See, e.g., McCreary, 545 U.S. at 859-60; Wallace, 472 U.S. 38;

Edwards, 482 U.S. at 586-93; Stone v. Graham, 449 U.S. 39, 41-43 (1980) (per

curiam); Torcaso, 367 U.S. at 489-90; Epperson, 393 U.S. at 107-08.

      Under Lemon, a government’s display must (1) “have a secular purpose;” (2)

not have the “effect” of advancing or endorsing religion; and (3) “not foster an

excessive entanglement with religion.” Gonzales v. North Tp. Of Lake County,


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Ind., 4 F.3d 1412, 1418 (7th Cir. 1993). The display “violates the Establishment

Clause if it fails to satisfy any of these prongs.” Edwards v. Aguillard, 482 U.S.

578, 583 (1987).

      When the government places “‘an instrument of religion’” on its property,

its purpose can “presumptively be understood as meant to advance religion.”

McCreary, 545 U.S. at 867 (citation omitted). The government can overcome this

presumption by proving a secular purpose, which must be the “pre-eminent” and

“primary” force and “not merely secondary to a religious objective.” Id. at 864

(citations omitted).

      In McCreary—which involved a display that originated with a solitary Ten

Commandments plaque—the government failed to rebut that presumption. Id. at

869. Thus, the Ten Commandments violated the Establishment Clause under the

purpose prong. Significantly, the Court reaffirmed the longstanding and “intuitive

importance of official purpose to the realization of Establishment Clause values,”

and refused to “abandon Lemon’s purpose test,” finding the argument as “seismic”

as it is “unconvincing.” 545 U.S. at 861.

      That same day, in Van Orden, supra, although the plurality jettisoned the

latter two prongs of Lemon, it adhered to Lemon’s secular purpose inquiry, finding

“no evidence of such” a “primarily religious purpose in this case.” 545 U.S. at 691

n.11. The plurality merely said the full “test” was “not useful” for “the sort” of


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display Texas erected, which was a six-foot-tall Ten Commandments monument

that was integrated into a unified-museum-like setting depicting “the state’s

political and legal history.” Id. at 681, 686, 688-90.

      Justice Breyer’s controlling concurrence expressly stated that Lemon would

continue to be “useful,” even in dual-significance cases. Id. at 700. Like the

plurality, Justice Breyer adhered to, and applied, Lemon’s purpose inquiry,

concluding that the display served a “primarily nonreligious purpose.” Id. at 703.

Justice Breyer ultimately applied the entire Lemon test, concluding that the display

neither advanced religion nor created “an ‘excessive government entanglement.’”

Id. at 703-04.

      Lastly, in Town of Greece, supra, the Court held that a legislative prayer

practice is unconstitutional if it “betray[s] an impermissible government purpose.”

Greece, 134 S. Ct. at 1824 . It lacks a permissible purpose if, inter alia, it is used as

an “opportunity to proselytize.” Id. at 1825-26.

      In sum, it is highly unlikely the Court will adopt a test that abandons the

secular purpose requirement. And that requirement is a central issue in this case.

      IV. The Orsi Plaintiffs will be harmed by a stay

    When deciding whether to grant preliminary injunctions in First Amendment

cases, courts have frequently recognized the harm to plaintiffs. Similarly, when

considering whether to stay proceedings when a permanent injunction is sought,


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the court should consider the ongoing nature of the injuries. Plaintiffs’ allegations

of ongoing direct, unwelcome contact with their local government’s religious

exercise is sufficient, without more, to satisfy the irreparable harm prong for the

purposes of an injunction. Chaplaincy of Full Gospel Churches v. England, 454

F.3d 290, 303 (D.C. Cir. 2006). This is so because the First Amendment rights

Plaintiffs seek to vindicate rank among the most fundamental in our society. See

Elrod v. Burns, 427 U.S. 347, 373 (1976) (“The loss of First Amendment

freedoms, for even minimal periods of time, unquestionably constitutes irreparable

injury.”); Legend Night Club v. Miller, 637 F.3d 291, 302 (4th Cir. 2011) (quoting

same). Thus, in Establishment Clause cases, the injury caused by government

endorsement of religion “occurs merely by virtue of the government’s purportedly

unconstitutional policy or practice establishing a religion, without any concomitant

protected conduct on the movants’ part.” Chaplaincy of Full Gospel Churches, 454

F.3d at 302. Plaintiffs’ First Amendment injuries by coming into contact with the

Ten Commandments monument as this case proceeds constitute an ongoing harm.

   Plaintiffs are seeking an injunction and not retroactive relief. A stay is more

difficult to justify in a case involving allegations of continuing harm and a request

for “injunctive or declaratory relief” than in a suit seeking “only damages.” See

Lockyer v. Mirant Corp, 398 F.3d 1098, 1112-13 (9th Cir.) (vacating stay where

“the Attorney General seeks injunctive relief against ongoing and future harm”).


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     V. The Orsi Plaintiffs may be deprived of the opportunity to conduct
meaningful discovery if this case is delayed as the Defendant asks

      This lawsuit was filed within a month of the installation of the Ten

Commandments monument on the State Capitol grounds. Since that time, a new

Secretary of State has been sworn in and some of the employees of the former

Secretary of State have moved on. Depositions of individuals associated with the

American History and Heritage Foundation (AHHF) will have to be scheduled.

Those individuals are not represented by any of the attorneys in this case (at least

insofar as their capacities as principals of AHHF are concerned). If the

cooperation of those witnesses cannot be acquired by agreement, it will be

necessary to subpoena them for depositions. Trial is currently set in June.

Defendants have shown no good cause that the trial should be moved. The Orsi

plaintiffs have sought in good faith to arrange for the scheduling of these necessary

depositions, but as of the date of this filing not a single deposition has been

scheduled.

                                   CONCLUSION

      The basis for the Secretary of State’s motion is that this case is so similar to

American Legion that any ruling by the United States Supreme Court will

necessarily change the rules of law that govern this case. That basis is

fundamentally flawed. There is a difference of 93 years between the facts in

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American Legion and the circumstances that will govern the result in this case.

The allegations of this case are that the Ten Commandments monument was

recently placed. The public perception was that the monument was religious in

nature. The motivation of the proponents and particularly the group that supplied

the monument was religious in nature. The Supreme Court may or may not see fit

at some time to revisit the Lemon test, but there is no reason to believe that the

Supreme Court will decide that a state may promote a particular version of a

religion over all others where there is no secular justification for doing so.

          WHEREFORE, Defendants’ Motion to Stay should be denied.

                                        Respectfully Submitted


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                        CERTIFICATE OF SERVICE

      I, J.G. “Gerry” Schulze, hereby certify that I have filed the above and
foregoing document through the Court’s Electronic Filing System, which will
serve a copy on all counsel.


                                      /s/ J.G. “Gerry” Schulze
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